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                   EXHIBIT A
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                                   JEFFERSON COUNTY CIRCUIT COURT

                                                 DIVISION ____

                                     CIVIL ACTION NUMBER _______


        BARBARA WILSON
                                                   PLAINTIFF
         vs.

        PINNACLE FOODS INC.
         Serve Registered Agent:
         The Corporation Trust Company
         Corporation Trust Center
         1209 Orange St.
         Wilmington, DE 19801

        PEAK FINANCE HOLDINGS LLC
         Serve Registered Agent:
         The Corporation Trust Company




                                                                                                         Presiding Judge: HON. OLU A. STEVENS (630305)
         Corporation Trust Center
         1209 Orange St.
         Wilmington, DE 19801

        PINNACLE FOODS GROUP LLC
         Serve Registered Agent:
         CT Corporation System
         306 W. Main St., Ste. 512
         Frankfort, KY 40601                       DEFENDANTS

        PINNACLE FOODS FINANCE LLC
         Serve Registered Agent:
         The Corporation Trust Company
         Corporation Trust Center
         1209 Orange St.
         Wilmington, DE 19801

        THE KROGER CO.
         Serve Registered Agent:
         Corporation Service Company
                                                                                                         COM : 000001 of 000004




         421 West Main St.
         Frankfort, KY 40601

        TOM REVELL, General Manager
        Kroger – 2219 Holiday Manor
        Center
        4943 Brownsboro Rd.
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        Louisville, KY 40222

        GREG NOVAK, Store Manager
        Kroger – 2219 Holiday Manor
        Center
        4943 Brownsboro Rd.
        Louisville, KY 40222


                                                  COMPLAINT
               Comes Plaintiff, by counsel, and states as follows:

               1. Plaintiff, BARBARA WILSON is and was at all relevant times a resident 7505
        Moredale Road, Louisville, KY 40222. At the time of the incident described below, Plaintiff
        was eighty-seven (87) years old and lived alone with no immediate or extended family
        members in Louisville, Kentucky.

               2. Defendant, PINNACLE FOODS GROUP LLC, is a Foreign Limited Liability Company
        registered to do business in the Commonwealth of Kentucky and a wholly-owned
        subsidiary of PINNACLE FOODS FINANCE LLC and active and in good standing with a
        principal office located at 399 Jefferson Road, Parsippany, NJ 07054. It is organized under




                                                                                                        Presiding Judge: HON. OLU A. STEVENS (630305)
        the laws of Delaware and engaged in the business of preparing and selling various food
        items for immediate consumption by the general public through its agents and partners
        such as The Kroger Co., specifically at Kroger—2219 Holiday Manor Center located at 4943
        Brownsboro Road, Louisville, KY 40222.

                3. Defendant, PINNACLE FOODS INC. is a publicly traded corporation not
        specifically registered to do business in the Commonwealth of Kentucky but doing business
        in Kentucky nonetheless through its wholly-owned subsidiaries, PINNACLE FOODS
        FINANCE LLC, PINNACLE FOODS GROUP LLC and PEAK FINANCE HOLDINGS LLC. It has a
        principal office located at 399 Jefferson Road, Parsippany, NJ 07054. It is organized under
        the laws of Delaware and engaged in the business of preparing and selling various food
        items for immediate consumption by the general public through its wholly-owned
        subsidiaries, agents and partners such as PINNACLE FOODS GROUP LLC, PINNACLE FOODS
        FINANCE LLC, PEAK FINANCE HOLDINGS LLC and The Kroger Co., specifically at Kroger—
        2219 Holiday Manor Center located at 4943 Brownsboro Road, Louisville, KY 40222.

               4. Defendant, PINNACLE FOODS FINANCE LLC is a wholly-owned subsidiary of
                                                                                                        COM : 000002 of 000004




        PEAK FINANCE HOLDINGS LLC not specifically registered to do business in the
        Commonwealth of Kentucky but doing business in Kentucky nonetheless through its
        wholly-owned subsidiary, PINNACLE FOODS GROUP LLC. It has a principal office located at
        399 Jefferson Road, Parsippany, NJ 07054. It is organized under the laws of Delaware and
        engaged in the business of preparing and selling various food items for immediate
        consumption by the general public through its wholly-owned subsidiaries, agents and
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        partners such as PINNACLE FOODS GROUP LLC and The Kroger Co., specifically at Kroger—
        2219 Holiday Manor Center located at 4943 Brownsboro Road, Louisville, KY 40222.

                5. Defendant, PEAK FINANCE HOLDINGS LLC is a wholly-owned subsidiary of
        PINNACLE FOODS INC. not specifically registered to do business in the Commonwealth of
        Kentucky but doing business in Kentucky nonetheless through its wholly-owned
        subsidiary, PINNACLE FOODS FINANCE LLC. It has a principal office located at 399
        Jefferson Road, Parsippany, NJ 07054. It is organized under the laws of Delaware and
        engaged in the business of preparing and selling various food items for immediate
        consumption by the general public through its wholly-owned subsidiaries, agents and
        partners such as PINNACLE FOODS FINANCE LLC, PINNACLE FOODS GROUP LLC and The
        Kroger Co., specifically at Kroger—2219 Holiday Manor Center located at 4943
        Brownsboro Road, Louisville, KY 40222.

               6. Upon information and belief, sometime between January 12, 2017, and February
        8, 2017, Plaintiff purchased for consumption a package of Hungry Man Selects Frozen
        Chicken & Waffles (the “FOOD”) UPC 658276-20290 from Defendants at Kroger—2219
        Holiday Manor Center, 4943 Brownsboro Road, Louisville, KY 40222. At the time Plaintiff
        purchased the food, Defendants impliedly represented that the food was pure, safe, and




                                                                                                              Presiding Judge: HON. OLU A. STEVENS (630305)
        wholesome and Plaintiff relied upon these warranties when purchasing the food.

              7. The FOOD was, in fact, defective, unwholesome, poisonous and not fit for human
        consumption at the time of the sale to Plaintiff in that it was contaminated with listeria
        monocytogenes making it unreasonably dangerous to the Plaintiff.

               8. The Defendant PINNACLE FOODS INC. voluntarily recalled the FOOD on or about
        May 5, 2017 (see Exhibit 1) and Plaintiff was also notified by a “robo-call” to her home on
        or about May 7. 2017, with a message left on her answering machine about the recall and
        she was notified by Kroger as being a possible purchaser of the FOOD by way of a message
        on a printed receipt on May 11, 2017 (see Exhibit 2). These warnings and recall were of no
        use to Plaintiff as she had already fallen violently ill by April 25, 2017, requiring
        hospitalization.

                9. Plaintiff did not alter or in any manner change the character of the FOOD prior to
        consuming it and Defendants at all times had exclusive control over the FOOD prior to
        selling it to Plaintiff.
                                                                                                              COM : 000003 of 000004




               10. Upon information and believe, sometime on or before April 25, 2017, Plaintiff,
        believing the food was pure, wholesome, and fit for human consumption, consumed all or
        portions of it, whereupon soon after became poisoned and seriously ill, resulting in injuries
        described below in this Complaint.



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                11. At the time of the above-described use by and below-described injuries to
        Plaintiff, Plaintiff was unaware of the defective condition of the FOOD or the unreasonable
        danger it posed to Plaintiff; the defective and unreasonably dangerous condition was not
        obvious or observable.

                12. As a proximate result of the unreasonably dangerous defective condition of the
        FOOD, Plaintiff suffered, in an amount exceeding the jurisdictional minimum of the court,
        the following damages: explosive diarrhea, dry heaves, vomiting of bile, dehydration, a
        rupture of the previous repair of a hernia, emergency surgery for repair of the surgery,
        hospitalization, months of diarrhea and lingering effects of the illness caused by the FOOD,
        and physical and emotional pain and suffering and financial damages including but not
        limited to, in excess of $30,000 of medical bills.

                13. Defendant, by selling the FOOD, knew and intended that it would be consumed
        by the public and thereby impliedly warranted that it was pure, safe and wholesome, and
        knew that consumers would purchase the FOOD in reliance upon such implied warranties
        and representations. Plaintiff in fact relied upon that implied warranty and representations
        at the time she purchased and consumed the product.




                                                                                                                    Presiding Judge: HON. OLU A. STEVENS (630305)
               14. Notice of Defendant's breach of warranty and the injuries thereby caused was
        given to Defendants by phone as memorialized by Pinnacle Foods Consumer Care internal
        Case No. AXXXXXXXX, incorporated by reference.

                WHEREFORE, Plaintiff demands judgment against Defendant in an amount
        exceeding the minimum jurisdictional requirements of this court sufficient to compensate
        Plaintiff for her damages; for costs expended herein; and all other relief to which plaintiff
        may be entitled.

                                                                                _/s/ Jeffrey A. Sexton
                                                                                     Jeffrey A. Sexton
                                                                                      John W. Byrnes
                                                                               Attorneys for Plaintiff
                                                                             325 W. Main St., Ste. 150
                                                                                Louisville, KY 40202
                                                                                     (502) 893-3784
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        CASE NO. 18-CI-001881                                          JEFFERSON CIRCUIT COURT
                                                                                 DIVISION SIX (6)
                                                                           JUDGE OLU A. STEVENS

                                     **ELECTRONICALLY FILED**
        BARBARA WILSON                                                                      PLAINTIFF


        v.                 KROGER’S ANSWER TO PLAINTIFF’S COMPLAINT


        PINNACLE FOODS, INC., et al.                .                                   DEFENDANTS


                                                  *** *** ***


               Defendants, The Kroger Co., Tom Revell, and Greg Novak, (hereinafter

        collectively “The Kroger Defendants”), for their Answer to Plaintiff’s Complaint states

        as follows:

               1.     The Kroger Defendants are without knowledge or information sufficient

        to form a belief as to the truth of the allegations contained in Paragraphs 1, 7, 8, 9, 10, 11,

        and 12 of Plaintiff’s Complaint and therefore deny the allegations.

               2.     With respect to Paragraph 2 of Plaintiff’s Complaint, The Kroger

        Defendants deny that Kroger the Kroger Co. or the Kroger located at 2219 Holiday

        Manor Center, 4943 Brownsboro Road, Louisville, KY 40222 are agents or partners of

        Pinnacle Foods Group LLC or Pinnacle Foods Finance LLC. The Kroger Defendants are

        without knowledge or information sufficient to form a belief as to the truth of the
                                                                                                          ANS : 000001 of 000005




        remaining allegations contained in Paragraph 2 of the Complaint and therefore deny

        the allegations.


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               3.     With respect to the allegations contained in Paragraphs 3, 4 and 5 of

        Plaintiff’s complaint, The Kroger Defendants deny that the Kroger Co. or the Kroger

        located at 2219 Holiday Manor Center, 4943 Brownsboro Road, Louisville, KY 40222

        were wholly owned subsidiaries, agents or partners of Pinnacle Foods Inc., Pinnacle

        Foods Group LLC, Pinnacle Foods Finance, LLC, or Peak Finance Holdings LLC. The

        Kroger Defendants are without knowledge or information sufficient to form a belief as

        to the truth of the remaining allegations in Paragraphs 3, 4 or 5 of the Complaint and

        therefore deny the allegations.

               4.     The Kroger Defendants deny the allegations against them contained in

        Paragraphs 6, 13, and 14 of Plaintiff’s Complaint. The Kroger defendants are without

        knowledge or information sufficient to form a belief as to the truth of the remaining

        allegations contained in Paragraphs 6, 13 and 14 of the Complaint and therefore deny

        the allegations.

                                             FIRST DEFENSE

            Plaintiff’s damages may have been caused, in whole or in part, by her failure to

        exercise ordinary care for his own safety.

                                           SECOND DEFENSE

               Plaintiff’s claims may be barred, in whole or in part, because any condition

        allegedly constituting an unreasonable risk of injury was not caused by the Kroger
                                                                                                       ANS : 000002 of 000005




        Defendants and because The Kroger Defendants did not know, nor should they have

        known in the exercise of ordinary care, of any such alleged condition in sufficient time

        to correct said condition.

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                                            THIRD DEFENSE

            Plaintiff’s claims may be barred, in whole or in part, because her damages, if any,

        were caused by the independent, primary, active, superseding and/or intervening

        negligence and/or intentional acts of persons or entities other than the Kroger

        Defendants over which The Kroger Defendants exercise no control and for whom The

        Kroger Defendants bear no responsibility.

                                           FOURTH DEFENSE

            Plaintiff’s damages, if any, should be reduced to the extent they could have been

        avoided through the exercise of ordinary care in treating or obtaining proper treatment

        for his alleged injuries.

                                             FIFTH DEFENSE

            Plaintiff’s damages may be barred, in whole or in part, because the fault of non-

        parties may have contributed to Plaintiff’s damages.

                                             SIXTH DEFENSE

            Plaintiff may have failed to join indispensable parties as required by Rule 19 of the

        Kentucky Rules of Civil Procedure.

                                          SEVENTH DEFENSE

               Plaintiff’s claim may be barred in whole or in part by his failure to state a claim
                                                                                                       ANS : 000003 of 000005



        on upon which relief may be granted.

                                           EIGHTH DEFENSE

               Some or all of Plaintiff’s claims may be barred by KRS § 275.150.

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                                           NINTH DEFENSE



            Kroger reserves the right to assert additional defenses revealed through discovery.



            WHEREFORE, Defendants The Kroger Co., Tom Revell and Greg Novak

        respectfully request:

               1.     That the Plaintiff’s Complaint be dismissed with prejudice;

               2.     For their costs expended in defending this action; and

               3.     For any and all other relief to which they may be entitled.




                                                 Respectfully submitted,

                                                 /s/ Alice A. Jones
                                                 M. Trent Spurlock
                                                 Alice A. Jones
                                                 DINSMORE & SHOHL, LLP
                                                 101 South Fifth Street, Suite 2500
                                                 Louisville, Kentucky 40202
                                                 502-540-2300 – telephone
                                                 502-585-2207 – facsimile
                                                 Counsel for Defendant, The Kroger Company




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                                        CERTIFICATE OF SERVICE

               I hereby certify that a true and correct copy of the foregoing was served by
        function of KCOJ e-filing and/or U.S. Mail on this 24th day of April, 2018 to the
        following:

        Jeffrey A. Sexton                              Pinnacle Foods, Inc.
        John W. Byrnes                                 The Corporation Trust Company
        325 W. Main Street, Suite 150                  Corporation Trust Center
        Louisville, KY 40202                           1209 Orange St.
        Counsel for Plaintiff                          Wilmington, DE 19801

        Peak Finance Holdings, LLC                     Pinnacle Foods Group, LLC
        The Corporation Trust Company                  CT Corporation System
        Corporation Trust Center                       306 W. Main St., Ste. 512
        1209 Orange St.                                Frankfort, KY 40601
        Wilmington, DE 19801

        Pinnacle Foods Finance LLC
        The Corporation Trust Company
        Corporation Trust Center
        1209 Orange St.
        Wilmington, DE 19801




                                                 /s/ Alice A. Jones
                                                 Counsel for Defendant




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        CIVIL ACTION NO. 18-CI-001881                                   JEFFERSON CIRCUIT COURT




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                                                                                      DIVISION 6
                                                                            ELECTRONICALLY FILED

        BARBARA WILSON                                                                       PLAINTIFF

        vs.                     DEFENDANTS’ ANSWER TO COMPLAINT

        PINNACLE FOODS, INC. et al                                                       DEFENDANTS

                                              *** *** *** *** ***

                 Defendants Pinnacle Foods, Inc., Peak Finance Holdings, LLC, Pinnacle Foods Group,

        LLC, and Pinnacle Foods Finance, LLC (“Defendants”), by counsel and for their Answer to the

        Complaint (“Complaint”) of Barbara Wilson (“Plaintiff”), state as follows:

                 1.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in paragraph 1 of the Complaint.

                 2.     Defendants admit the allegations contained in paragraph 2 of the Complaint, except

        deny that The Kroger Company is an agent or partner of Defendants.

                 3.    Defendants admit the allegations contained in paragraph 3 of the Complaint and

        admit that Pinnacle Foods, Inc.’s products are sold in Kentucky. Defendants deny that The Kroger

        Company is an agent or partner of Defendants.

                 4.     Defendants admit the allegations contained in paragraph 4 of the Complaint, except

        deny that Pinnacle Foods Finance, LLC is doing business in Kentucky and deny that The Kroger

        Company is an agent or partner of Defendants.

                 5.     Defendants admit the allegations contained in paragraph 5 of the Complaint, except

        deny that Peak Finance Holdings, LLC is doing business in Kentucky and deny that The Kroger
                                                                                                             ANS : 000001 of 000005




        Company is an agent or partner of Defendants.




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               6.      Defendants are without knowledge or information sufficient to form a belief as to




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        the truth of the allegations contained in paragraph 6 of the Complaint.

               7.      Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in paragraph 7 of the Complaint.

               8.        Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in paragraph 8 of the Complaint, except admit that Defendant

        Pinnacle Foods, Inc. voluntarily recalled certain frozen food products on or about May 5, 2017.

               9.      Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in paragraph 9 of the Complaint.

               10.     Defendants deny the allegations contained in Paragraph 10 of the Complaint.

               11.     Defendants deny the allegations contained in Paragraph 11 of the Complaint.

               12.     Defendants deny the allegations contained in Paragraph 12 of the Complaint.

               13.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in paragraph 13 of the Complaint.

               14.     Defendants deny the allegations contained in Paragraph 14 of the Complaint,

        except admit that Plaintiff contacted Pinnacle Foods Consumer Care.

               15.     Defendants deny each and every allegation contained in the Complaint that is not

        expressly admitted herein.

                                      FIRST AFFIRMATIVE DEFENSE

               16.     The Complaint fails to state a claim against Defendants upon which relief may be

        granted.
                                                                                                              ANS : 000002 of 000005




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                                         SECOND AFFIRMATIVE DEFENSE




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                17.       Defendants assert the affirmative defense of comparative fault. Plaintiff was,

        herself, at fault. Her fault was a substantial factor in causing the alleged injuries and her fault bars

        her claims against Defendants in whole or in part.

                                         THIRD AFFIRMATIVE DEFENSE

                18.       Plaintiff’s alleged damages, if any, were negligently caused in whole or in part by

        Plaintiff and/or other parties over which Defendants had no control, and are not the result of acts

        or omissions of Defendants.

                                         FOURTH AFFIRMATIVE DEFENSE

                19.       The relief sought in the Complaint may be barred or reduced, in whole or in part,

        because whatever damages, if any, sustained by Plaintiff, were caused in whole or in part or were

        contributed to by reason of the acts or omissions of Plaintiff, other parties, and/or non-parties over

        whom Defendants had no control.

                                         FIFTH AFFIRMATIVE DEFENSE

                20.       Plaintiff’s claims are barred by the applicable statute of limitations.

                                         SIXTH AFFIRMATIVE DEFENSE

                21.       Defendants reserve the right to amend this Answer to assert any additional

        affirmative defenses which may become apparent and/or applicable during the course of discovery

        and thereafter.

                Wherefore, Defendants demand the following relief:
                                                                                                                   ANS : 000003 of 000005




                1.        That the Complaint filed herein against Defendants be dismissed;

                2.        For their costs expended herein, including reasonable attorney’s fees; and

                3.        For any and all other relief to which Defendants may be entitled.


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                                                      Respectfully submitted,




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                                                      /s/ Logan J. Mayfield
                                                      Matthew A. Stinnett (KBA #94121)
                                                      Logan J. Mayfield (KBA #97287)
                                                      DICKINSON WRIGHT PLLC
                                                      300 West Vine Street, Suite 1700
                                                      Lexington, Kentucky 40507
                                                      Telephone:    (859) 899-8703
                                                      Facsimile:    (844) 670-6009
                                                      mstinnett@dickinsonwright.com
                                                      lmayfield@dickinsonwright.com
                                                      COUNSEL FOR DEFENDANTS




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                                        CERTIFICATE OF SERVICE




                                                                                                          8A09AE4E-0502-4CD4-AD03-C58400E77543 : 000005 of 000005
               I hereby certify that on this 7th day of May, 2018, I served the foregoing by e-mail and

        U.S. Mail to the following counsel of record:

               Jeffrey A. Sexton
               John W. Byrnes
               325 West Main Street, Suite 150
               Louisville, KY 40202
               COUNSEL FOR PLAINTIFF

               M. Trent Spurlock
               Alice A. Jones
               DINSMORE & SHOHL, LLP
               101 South Fifth Street, Suite 2500
               Louisville, KY 40202
               COUNSEL FOR DEFENDANT,
               THE KROGER COMPANY

                                                            /s/ Logan J. Mayfield
                                                            COUNSEL FOR DEFENDANTS


        LEXINGTON 63445-2 64673v2




                                                                                                          ANS : 000005 of 000005




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                   EXHIBIT D
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  CIVIL ACTION NO. 18-CI-001881                                   JEFFERSON CIRCUIT COURT
                                                                                DIVISION 6

  BARBARA WILSON                                                                        PLAINTIFF


  vs.               DEFENDANTS’ FIRST SET OF INTERROGATORIES,
                     REQUESTS FOR PRODUCTION OF DOCUMENTS
                          AND REQUESTS FOR ADMISSIONS


  PINNACLE FOODS, INC. et al                                                        DEFENDANTS

                                    *** *** *** *** ***
         Pursuant to Kentucky Rules of Civil Procedure 33, 34 and 36, Defendants Pinnacle

  Foods, Inc., Peak Finance Holdings, LLC, Pinnacle Foods Group, LLC, and Pinnacle Foods

  Finance, LLC (“Defendants”), direct the following interrogatories, requests for production of

  documents and request for admissions (“Discovery”) to Plaintiff Barbara Wilson (“Plaintiff”).

  Plaintiff shall respond to all interrogatories and produce all documents subject to these requests,

  on or before 30 days from Plaintiff’s receipt of the Discovery at the offices of Dickinson Wright

  PLLC, 300 West Vine Street, Suite 1700, Lexington, Kentucky, or at such other time and

  location as counsel may agree.

                              DEFINITIONS AND INSTRUCTIONS

         1.      As used herein, the terms “you”, “your” and “Plaintiff” refer to Plaintiff Barbara

  Wilson, and shall be deemed to include any partnership, company, or other business entity,

  agent, employee, attorney or other representative.

         2.      As used herein, the term “Defendants” collectively refers to Defendants Pinnacle

  Foods, Inc., Peak Finance Holdings, LLC, Pinnacle Foods Group, LLC, and Pinnacle Foods

  Finance, LLC, and shall be deemed to include any partnership, company, or other business

  entity, agent, employee, attorney or other representative.



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         3.      As used herein, the term “Incident” shall mean the events occurring on or around

  January 2017 through May 2017 as described in the Complaint for which Plaintiff is seeking a

  remedy.

         4.      As used herein, the term “medical treatment” includes, but is not limited to,

  treatment for physical, psychiatric, psychological or emotional problems.

         5.      As used herein, the term “Parties” collectively refers to Defendants and Plaintiff.

         6.      As used herein, the terms “person” or “persons” shall include any natural person,

  corporation, partnership, proprietorship, association, joint venture, governmental or other public

  entity, or any other form of organization or legal entity, and all their officials, directors, officers,

  employees, representatives, and agents.

         7.      As used herein, the term “document” shall mean all information within the full

  scope of Rule 34 of the Kentucky Rules of Civil Procedure, wherever located, and includes,

  without limitation, the original and any copy of any and all written, printed, typed, recorded,

  graphic, computer-generated, or other matter of any kind from which information can be derived,

  whether produced, reproduced or stored on paper, cards, tape, film, electronic facsimile,

  computer storage devices or any other medium in your possession, custody or control. It

  includes, without limitation, letters, memoranda (whether of visits, telephone calls or otherwise),

  appointment calendars, schedules, books, indices, printed forms (whether official or unofficial),

  publications, press releases, notices, brochures, pamphlets, guidelines, manuals, instructions,

  minutes, summaries or abstracts, reports, files, file jackets, transcripts, data processing cards,

  computer tapes, printouts, information contained in, on or retrievable from computer programs,

  bulletins, written questions and answers, charts, exhibits, blueprints, drawings, diagrams, graphs,

  tables, photographs, recordings, speeches, telegrams, cables, telex messages, microfilms,



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  opinions, studies, papers, analyses, evaluations, proposals, budget materials, invoices, financial

  statements, contracts, specifications, diaries, spreadsheets, maps, tax forms, applications,

  motions, petitions, complaints, answers, responses, replies, protests, verified statements, hearing

  transcripts, attachments, filings, submissions and pleadings. The term “document” or

  “documents” also shall include each copy that is not identical to the original or to any other

  produced copy, and any preliminary drafts of any document or working papers related hereto.

          8.      As used herein, the term “communication” shall mean and include any discussion,

  representation, conversation, telephone call, text message, e-mail, Internet “chat” or other such

  electronic communication, utterance, statement, or other form of communicating information,

  whether oral or written.

          9.      The term “identify,” when used herein in reference to a person, means to provide

  the following information:

                  (a)     the person's full name, and any and all assumed names or former names,

  including, if a corporation, all successors in interest;

                  (b)     the person’s last known principal business address and telephone number,

  and, if an individual, residence address and phone number;

                  (c)     if an individual, the name and address of the person's employer, the

  person's job title and job description at all times pertinent to the pending action,   including any

  changes therein and dates thereof, and a description of the branch, office, division, region, etc.,

  with which that person was or is affiliated; and




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                 (d)    if other than an individual, a description of the type of entity involved

  including any form of organization or legal entity.

         10.     If you believe that any of the following Discovery calls for the assertion of a

  claim of privilege, produce so much of the document(s) as is not objected to, and set forth with

  respect to each interrogatory and/or such document as to which a claim of privilege is asserted

  the nature of the privilege claimed (e.g., attorney-client, work-product) and the basis for your

  claim. For each interrogatory and/or document as to which you claim privilege, state:

                 (a)    the date thereof;

                 (b)    the type, title, and subject matter of the document in sufficient detail to

  enable Defendants and the Court to assess whether the assertion of privilege is valid;

                 (c)    the name, address, positions, and relationship to you, if any, of the

  person(s) who prepared or signed the document;

                 (d)    the name, address, positions, and relationship to you, if any, of any

  intended and actual recipients of the document;

                 (e)    the name, address, positions and relationship to you, if any, for each

  person now in possession of the original or a copy of the document;

                 (f)    the identity of each person, other than you or your attorney, who has read

  or reviewed, or who has ever had possession, custody or control of, an original or a copy of the

  document;

                 (g)    the nature of the privilege being claimed and any facts relevant to the

  claim; and

                 (h)    the paragraph number of the request to which the document is responsive.




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          11.     If you refuse to produce any documents described herein for reasons other than a

  claim of privilege, please state the grounds upon which the refusal is based with sufficient

  specificity to permit a determination of the validity of such refusal. For each such document,

  please also state:

                  (a)    the date thereof;

                  (b)    the type, title, and subject matter of the document in sufficient detail to

  enable Defendants and the Court to assess whether the refusal is valid;

                  (c)    the name, address, positions, and relationship to you, if any, of the

  person(s) who prepared or signed the document;

                  (d)    the name, address, positions, and relationship to you, if any, of any

  intended and actual recipients of the document;

                  (e)    the name, address, positions and relationship to you, if any, for each

  person now in possession of the original or a copy of the document;

                  (f)    the identity of each person, other than you or your attorney, who has read

  or reviewed, or who has ever had possession, custody or control of, an original or a copy of the

  document; and

                  (g)    the paragraph number of the request to which the document is responsive.

          12.     For each document produced, identify the specific request for production, and

  subpart thereof, to which the document is responsive.

                                       INTERROGATORIES

          INTERROGATORY NO. 1: State the following information:

                 (a)     your full legal name, including any alias or nickname by which you have
  been referred to or known as;

                  (b)    the identity of all persons who assisted you in answering these
  interrogatories; and

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                 (c)      your current address (including the inclusive dates of residence at that
  address), social security number, and date of birth.

         ANSWER:

         INTERROGATORY NO. 2: Describe, in detail, the chronologic events that occurred

  leading up to the Incident and immediately thereafter, including, but not limited to, any actions

  that were taken or that you allege should have been taken by any party to avoid the Incident.

         ANSWER:

         INTERROGATORY NO. 3: If you or anyone acting on your behalf have discussed the

  Incident with any employee, agent or representative of the Defendants, provide the following

  information:

                   (a)   identify the individual with whom the communications were conducted;

                   (b)   the date of the communication; and

                   (c)   describe, in detail, the substance of the communication.

         ANSWER:

         INTERROGATORY NO. 4: Describe, in detail, each and every alleged act and/or

  omission by Pinnacle Foods, Inc. that you believe caused or contributed to the injuries alleged in

  the Complaint.

         ANSWER:

         INTERROGATORY NO. 5: Describe, in detail, each and every alleged act and/or

  omission by Peak Finance Holdings, LLC that you believe caused or contributed to the injuries

  alleged in the Complaint.

         ANSWER:




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         INTERROGATORY NO. 6: Describe, in detail, each and every alleged act and/or

  omission by Pinnacle Foods Group, LLC that you believe caused or contributed to the injuries

  alleged in the Complaint.

         ANSWER:

         INTERROGATORY NO. 7: Describe, in detail, each and every alleged act and/or

  omission by Pinnacle Foods Finance, LLC that you believe caused or contributed to the injuries

  alleged in the Complaint.

         ANSWER:

         INTERROGATORY NO. 8: Describe, in detail, each and every alleged act and/or

  omission by The Kroger Company that you believe caused or contributed to the injuries alleged

  in the Complaint.

         ANSWER:

         INTERROGATORY NO. 9: Describe, in detail, each and every alleged act and/or

  omission by Tom Revell that you believe caused or contributed to the injuries alleged in the

  Complaint.

         ANSWER:

         INTERROGATORY NO. 10: Describe, in detail, each and every alleged act and/or

  omission by Greg Novak that you believe caused or contributed to the injuries alleged in the

  Complaint.

         ANSWER:




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         INTERROGATORY NO. 11: Identify all persons having knowledge of the facts and

  allegations set forth in the Complaint and state with specificity the knowledge or information you

  believe each such person possesses regarding each allegation or paragraph number.

         ANSWER:

         INTERROGATORY NO. 12: Identify all individuals you intend to call at trial as a

  witness.

         ANSWER:

         INTERROGATORY NO. 13: Describe, in detail, each injury, illness or condition you

  are alleged to have experienced at any time as a result of the Incident, including the exact

  diagnosis and condition, as well as a statement whether the claimed injury is a physical injury, a

  mental or emotional injury, or some other type of injury. For each alleged injury, illness, or

  condition describe in detail:

                 (a)     how the events alleged in the Complaint caused or otherwise were related
  to each alleged injury, illness or condition;

                 (b)     what symptoms, if any, you have experienced or are experiencing from the
  alleged injury, illness or condition, the approximate date when the symptoms began, and the
  frequency and duration of the symptoms;

                 (c)     the names and addresses of every physician, healer, therapist, doctor, or
  other health care provider who has examined, assessed, evaluated, treated, diagnosed, or
  provided consultation or health care services, together with all diagnoses rendered and health
  care services provided, as well as dates for the diagnoses and health care services; and the dates
  on which the Plaintiffs were treated for the alleged injury, illness or condition; and

                  (d)     the identity of all documents containing information regarding your injury,
  illness or condition, and the identity of all persons with knowledge of the facts concerning the
  injury, illness or condition; and the total expenses incurred in the rendering of such services and
  the provision of any medical supplies.

         ANSWER:




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         INTERROGATORY NO. 14: State the amount of damages sought for each of

  Plaintiff's alleged injuries and describe, in detail, the manner in which the amount of damages

  stemming from those alleged injuries were calculated.

         ANSWER:

         INTERROGATORY NO. 15: Identify all persons from whom statements have been

  obtained relating to the Incident or the injuries allegedly suffered by Plaintiff as a result of the

  Incident, as well as all persons (excluding your attorneys) with whom Plaintiff has spoken

  regarding this case.

         ANSWER:

         INTERROGATORY NO. 16: Describe each and every type of insurance or similar

  benefit that you have received or have a reasonable expectation of receiving in the future as a

  result of the Incident, including the name of the payor, amount of payments received, and reason

  for payments.

         ANSWER:

         INTERROGATORY NO. 17: For each person Plaintiff expects to call as an expert at

  the trial of this matter, including treating medical providers:

                (a)    state his/her name, business address, telephone number, employer (if not
  self-employed) and job title or position;

                  (b)    describe his/her educational background and qualifications;

                  (c)    identify the subject matter on which each expert is expected to testify;

                 (d)    identify all documents and materials you or any of Plaintiff’s
  representatives provided to the expert for review in this matter;

                 (e)    identify all documents and materials the expert is relying upon in reaching
  conclusions in this matter;



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               (f)    identify the substance of the facts and opinions known or held by each
  person concerning the subject matter upon which each expert is expected to testify, and a
  summary of the grounds for each opinion;

                 (g)      state whether the experts have prepared reports of their observations, tests
  or opinions and, if so, identify all persons who have possession of such reports; and

                 (h)      list all negligence actions in which the expert has testified at trial or by
  deposition in the last ten years, including full case caption or title, cause or docket number, the
  name of the court and the name of the plaintiff and defense attorneys.

         ANSWER:

         INTERROGATORY NO. 18: If you have ever been a party to any type of lawsuit

  (civil or criminal) or workers compensation proceeding, other than in this case, provide the

  following information:

                 (a)     the full case caption or title of the action;

                 (b)     the cause or docket number of the action;

                 (c)     the location of the court where the action was pending;

                 (d)     the subject matter and disposition of the case; and

                   (e)    whether you testified under oath in the case, in a deposition, by affidavit,
  at trial or during a hearing.

         ANSWER:

         INTERROGATORY NO. 19: Describe your employment history for the past ten years,

  including the date you were hired, the date your employment terminated, your job title and

  reasons for the termination.

         ANSWER:

         INTERROGATORY NO. 20: Describe your medical history for the last 10 years,

  stating the name and address of the medical provider or hospital, the type of medical treatment,

  the dates of medical treatment, and the medical condition or other reason for the treatment.


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         ANSWER:

         INTERROGATORY NO. 21: Identify the last date upon which you received medical

  care or treatment for any of the injuries you attribute to the Incident and whether medical

  treatment is ongoing or complete.

         ANSWER:

                       REQUEST FOR PRODUCTION OF DOCUMENTS

         REQUEST NO. 1: Produce copies of all documents identified in your responses to

  Defendants’ First Set of Interrogatories to you.

         RESPONSE:

         REQUEST NO. 2: Produce copies of all communications and documents exchanged

  between you and the Defendants.

         RESPONSE:

         REQUEST NO. 3: Produce copies of all communications and documents exchanged

  between you and any other person or entity pertaining to or relating in any way to the Incident.

         RESPONSE:

         REQUEST NO. 4:Produce copies of all documents filed by you in any proceeding for

  any claim for personal injury, accident or illness before or after this claim.

         RESPONSE:

         REQUEST NO. 5: Produce copies of all documents that support your claim that

  Defendants’ conduct caused the injuries allegedly sustained by you in the Incident.

         RESPONSE:



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          REQUEST NO. 6: Produce copies of all documents that contain any statement of

  Defendants, their agents, representatives or employees that are written, typed, recorded,

  transcribed or are in any other form or tangible date compilation, that you, or anyone acting on

  your behalf, have obtained from any source.

          RESPONSE:

          REQUEST NO. 7: Produce copies of any expert report(s) identified in response to

  Interrogatory No. 17.

          RESPONSE:

          REQUEST NO. 8: Produce copies of any documents you intend to introduce as exhibits

  at the trial of this matter.

          RESPONSE:

          REQUEST NO. 9: Produce copies of all documents that support the amount of damages

  you seek in this action.

          RESPONSE:

          REQUEST NO. 10: Produce copies of all documents evidencing bills or other charges

  for medical treatment for Plaintiff’s injuries allegedly sustained as a result of the Incident.

          RESPONSE:

          REQUEST NO. 11: Produce copies of all medical, psychological, psychiatric or other

  records and any such reports regarding the conditions, prognosis, diagnosis and treatment of

  injuries allegedly sustained by you as a result of this Incident.

          RESPONSE:




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         REQUEST NO. 12: Produce copies of all documents concerning the payment for or

  reimbursement by any person of any amount that you claim as damages.

         RESPONSE:

         REQUEST NO. 13: Produce copies of all documents that you compiled or obtained

  from any person or entity concerning the Incident.

         RESPONSE:

         REQUEST NO. 14: Produce all postings by Plaintiff on social media websites,

  including, but not limited to Facebook, Instagram and Twitter since the date of the Incident.

         RESPONSE:

                                  REQUEST FOR ADMISSION

         REQUEST FOR ADMISSION NO. 1: Admit that you are claiming damages in an

  amount in excess of $75,000, exclusive of interests and costs.

         RESPONSE:




                                                       /s/ Logan J. Mayfield
                                                       Matthew A. Stinnett
                                                       Logan J. Mayfield
                                                       DICKINSON WRIGHT PLLC
                                                       300 West Vine Street, Suite 1700
                                                       Lexington, Kentucky 40507
                                                       Telephone:    (859) 899-8703
                                                       Facsimile:    (844) 670-6009
                                                       mstinnett@dickinsonwright.com
                                                       lmayfield@dickinsonwright.com
                                                       COUNSEL FOR DEFENDANTS




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 7th day of May, 2018, I served the foregoing by e-mail and

  U.S. Mail to the following counsel of record:

         Jeffrey A. Sexton
         John W. Byrnes
         325 West Main Street, Suite 150
         Louisville, KY 40202
         COUNSEL FOR PLAINTIFF

                                                       /s/ Logan J. Mayfield
                                                       COUNSEL FOR DEFENDANTS
  LEXINGTON 63445-2 64674v1




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                   EXHIBIT E
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                    EXHIBIT F
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                                                                                          Clerk #: 62




        CIVIL ACTION NO. 18-CI-001881                                  JEFFERSON CIRCUIT COURT




                                                                                                            17ECBBED-EB23-4365-BC8E-1EE39C82093B : 000001 of 000002
                                                                                     DIVISION 6
                                                                           ELECTRONICALLY FILED

        BARBARA WILSON                                                                      PLAINTIFF

        vs.                     NOTICE OF SUBSTITUTION OF COUNSEL


        PINNACLE FOODS, INC. et al                                                      DEFENDANTS

                                             *** *** *** *** ***

                 PLEASE TAKE NOTICE that the law firm Dinsmore & Shohl LLP is no longer counsel

        of record for The Kroger Co., Tom Revell, and Greg Novak (collectively “The Kroger

        Defendants”). Notice is further given that Matthew A. Stinnett and Logan J. Mayfield and the law

        firm Dickinson Wright PLLC, 300 West Vine Street, Suite 1700, Lexington, Kentucky 40507 are

        substituted as counsel of record for the Kroger Defendants. Please serve all future pleadings and

        notices accordingly.


                                                            Respectfully submitted,


                                                            /s/ Logan J. Mayfield
                                                            Matthew A. Stinnett (KBA #94121)
                                                            Logan J. Mayfield (KBA #97287)
                                                            DICKINSON WRIGHT PLLC
                                                            300 West Vine Street, Suite 1700
                                                            Lexington, Kentucky 40507
                                                            Telephone:    (859) 899-8703
                                                            Facsimile:    (844) 670-6009
                                                            mstinnett@dickinsonwright.com
                                                            lmayfield@dickinsonwright.com
                                                            COUNSEL FOR DEFENDANTS
                                                                                                            NSCO : 000001 of 000002




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                                                                     Jefferson 93 PageID
                                                                                       Clerk #: 63




                                        CERTIFICATE OF SERVICE




                                                                                                              17ECBBED-EB23-4365-BC8E-1EE39C82093B : 000002 of 000002
               I hereby certify that on this 31st day of August, 2018, I served the foregoing by e-mail and

        U.S. Mail to the following:

               Jeffrey A. Sexton
               John W. Byrnes
               325 West Main Street, Suite 150
               Louisville, KY 40202
               COUNSEL FOR PLAINTIFF

               M. Trent Spurlock
               Alice A. Jones
               DINSMORE & SHOHL, LLP
               101 South Fifth Street, Suite 2500
               Louisville, KY 40202

                                                             /s/ Logan J. Mayfield
                                                             COUNSEL FOR DEFENDANTS



        LEXINGTON 63445-2 69457v1




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  CIVIL ACTION NO. 18-CI-001881                                  JEFFERSON CIRCUIT COURT




                                                                                                  B3CA5F8E-9367-437E-9AA2-487FA7A468EC : 000001 of 000002
                                                                               DIVISION 6
                                                                     ELECTRONICALLY FILED

  BARBARA WILSON                                                                      PLAINTIFF

  vs.                     NOTICE OF SUBSTITUTION OF COUNSEL


  PINNACLE FOODS, INC. et al                                                      DEFENDANTS

                                       *** *** *** *** ***

         PLEASE TAKE NOTICE that Matthew A. Stinnett is no longer counsel of record for

  Pinnacle Foods, Inc., Peak Finance Holdings, LLC, Pinnacle Foods Group, LLC, and Pinnacle

  Foods Finance, LLC (“Defendants”). Brian M. Johnson, Logan J. Mayfield and the law firm

  Dickinson Wright PLLC, 300 West Vine Street, Suite 1700, Lexington, Kentucky 40507 shall

  remain as counsel for Defendants. Please serve all future pleadings and notices accordingly.


                                                      Respectfully submitted,


                                                      /s/ Brian M. Johnson
                                                      Brian M. Johnson (KBA #86995)
                                                      Logan J. Mayfield (KBA #97287)
                                                      DICKINSON WRIGHT PLLC
                                                      300 West Vine Street, Suite 1700
                                                      Lexington, Kentucky 40507
                                                      Telephone:     (859) 899-8700
                                                      Facsimile:     (844) 670-6009
                                                      bjohnson@dickinsonwright.com
                                                      lmayfield@dickinsonwright.com
                                                      COUNSEL FOR DEFENDANTS
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 58 of 93 PageID #: 66




                                  CERTIFICATE OF SERVICE




                                                                                                         B3CA5F8E-9367-437E-9AA2-487FA7A468EC : 000002 of 000002
         I hereby certify that on this 26th day of October, 2018, I served the foregoing by e-mail and

  U.S. Mail to the following:

         Jeffrey A. Sexton
         John W. Byrnes
         325 West Main Street, Suite 150
         Louisville, KY 40202
         COUNSEL FOR PLAINTIFF

         M. Trent Spurlock
         Alice A. Jones
         DINSMORE & SHOHL, LLP
         101 South Fifth Street, Suite 2500
         Louisville, KY 40202

                                                       /s Brian M. Johnson
                                                       COUNSEL FOR DEFENDANTS



  LEXINGTON 79625-1 71522v1
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 59 of 93 PageID #: 67




                   EXHIBIT H
    Case
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                                                          L. Nicholson,     60 of Circuit
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        CIVIL ACTION NO. 18-CI-001881                                    JEFFERSON CIRCUIT COURT




                                                                                                               3EDA3B2A-6804-49B7-BCBE-1F68918F6AD9 : 000001 of 000002
                                                                                       DIVISION 6
                                                                             ELECTRONICALLY FILED

        BARBARA WILSON                                                                         PLAINTIFF

        vs.                               NOTICE OF DEPOSITION


        PINNACLE FOODS, INC. et al                                                         DEFENDANTS

                                               *** *** *** *** ***

                 Pursuant to Kentucky Rule of Civil Procedure 30.02, please take notice that counsel for the

        Defendants will take the deposition of Plaintiff Barbara Wilson on November 28, 2018 at 1:00

        p.m., Eastern Time, at the law firm of Dickinson Wright PLLC, 300 West Vine Street, Suite 1700,

        Lexington, Kentucky 40507. Said deposition will be used in accordance with the Kentucky Rules

        of Civil Procedure.


                                                              Respectfully submitted,


                                                              /s/ Logan J. Mayfield
                                                              Brian M. Johnson (KBA #86995)
                                                              Logan J. Mayfield (KBA #97287)
                                                              DICKINSON WRIGHT PLLC
                                                              300 West Vine Street, Suite 1700
                                                              Lexington, Kentucky 40507
                                                              Telephone:    (859) 899-8700
                                                              Facsimile:    (844) 670-6009
                                                              bjohnson@dickinsonwright.com
                                                              lmayfield@dickinsonwright.com
                                                              COUNSEL FOR DEFENDANTS
                                                                                                               NTD : 000001 of 000002




Filed                   18-CI-001881   11/19/2018             David L. Nicholson, Jefferson Circuit Clerk
    Case
Filed      3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                       L. Nicholson,     61 of Circuit
                                                                     Jefferson 93 PageID
                                                                                       Clerk #: 69




                                          CERTIFICATE OF SERVICE




                                                                                                            3EDA3B2A-6804-49B7-BCBE-1F68918F6AD9 : 000002 of 000002
               I hereby certify that on this 19th day of November, 2018, I served the foregoing by e-mail

        and U.S. Mail to the following:

               Jeffrey A. Sexton
               John W. Byrnes
               325 West Main Street, Suite 150
               Louisville, KY 40202
               COUNSEL FOR PLAINTIFF


                                                            /s/ Logan J. Mayfield
                                                            COUNSEL FOR DEFENDANTS



        LEXINGTON 63445-2 72987v1




                                                                                                            NTD : 000002 of 000002




Filed                 18-CI-001881   11/19/2018            David L. Nicholson, Jefferson Circuit Clerk
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 62 of 93 PageID #: 70




                     EXHIBIT I
    Case
Filed         3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                          L. Nicholson,     63 of Circuit
                                                                        Jefferson 93 PageID
                                                                                          Clerk #: 71




        CIVIL ACTION NO. 18-CI-001881                                    JEFFERSON CIRCUIT COURT




                                                                                                               CC5880CB-43EE-4EA4-9412-66061E9DF269 : 000001 of 000002
                                                                                       DIVISION 6
                                                                             ELECTRONICALLY FILED

        BARBARA WILSON                                                                         PLAINTIFF

        vs.                               RE-NOTICE OF DEPOSITION


        PINNACLE FOODS, INC. et al                                                         DEFENDANTS

                                               *** *** *** *** ***

                 Pursuant to Kentucky Rule of Civil Procedure 30.02, please take notice that counsel for the

        Defendants will take the deposition of Plaintiff Barbara Wilson on November 28, 2018 at 1:00

        p.m., Eastern Time, at 325 West Main Street, Suite 150, Louisville, Kentucky 40202. Said

        deposition will be used in accordance with the Kentucky Rules of Civil Procedure.


                                                              Respectfully submitted,


                                                              /s/ Logan J. Mayfield
                                                              Brian M. Johnson (KBA #86995)
                                                              Logan J. Mayfield (KBA #97287)
                                                              DICKINSON WRIGHT PLLC
                                                              300 West Vine Street, Suite 1700
                                                              Lexington, Kentucky 40507
                                                              Telephone:    (859) 899-8700
                                                              Facsimile:    (844) 670-6009
                                                              bjohnson@dickinsonwright.com
                                                              lmayfield@dickinsonwright.com
                                                              COUNSEL FOR DEFENDANTS


                                                                                                               NTD : 000001 of 000002




Filed                   18-CI-001881   11/21/2018             David L. Nicholson, Jefferson Circuit Clerk
    Case
Filed      3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                       L. Nicholson,     64 of Circuit
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                                                                                       Clerk #: 72




                                          CERTIFICATE OF SERVICE




                                                                                                            CC5880CB-43EE-4EA4-9412-66061E9DF269 : 000002 of 000002
               I hereby certify that on this 21st day of November, 2018, I served the foregoing by e-mail

        and U.S. Mail to the following:

               Jeffrey A. Sexton
               John W. Byrnes
               325 West Main Street, Suite 150
               Louisville, KY 40202
               COUNSEL FOR PLAINTIFF


                                                            /s/ Logan J. Mayfield
                                                            COUNSEL FOR DEFENDANTS



        LEXINGTON 63445-2 73037v1




                                                                                                            NTD : 000002 of 000002




Filed                 18-CI-001881   11/21/2018            David L. Nicholson, Jefferson Circuit Clerk
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                    EXHIBIT J
    Case
Filed         3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                          L. Nicholson,     66 of Circuit
                                                                        Jefferson 93 PageID
                                                                                          Clerk #: 74




        CIVIL ACTION NO. 18-CI-001881                                    JEFFERSON CIRCUIT COURT




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                                                                                       DIVISION 6
                                                                             ELECTRONICALLY FILED

        BARBARA WILSON                                                                         PLAINTIFF

        vs.                               RE-NOTICE OF DEPOSITION


        PINNACLE FOODS, INC. et al                                                         DEFENDANTS

                                               *** *** *** *** ***

                 Pursuant to Kentucky Rule of Civil Procedure 30.02, please take notice that counsel for the

        Defendants will take the deposition of Plaintiff Barbara Wilson on November 28, 2018 at 1:00

        p.m., Eastern Time, at 4175 Westport Road, Suite 205, Louisville, Kentucky 40207. Said

        deposition will be used in accordance with the Kentucky Rules of Civil Procedure.


                                                              Respectfully submitted,


                                                              /s/ Logan J. Mayfield
                                                              Brian M. Johnson (KBA #86995)
                                                              Logan J. Mayfield (KBA #97287)
                                                              DICKINSON WRIGHT PLLC
                                                              300 West Vine Street, Suite 1700
                                                              Lexington, Kentucky 40507
                                                              Telephone:    (859) 899-8700
                                                              Facsimile:    (844) 670-6009
                                                              bjohnson@dickinsonwright.com
                                                              lmayfield@dickinsonwright.com
                                                              COUNSEL FOR DEFENDANTS


                                                                                                               NTD : 000001 of 000002




Filed                   18-CI-001881   11/26/2018             David L. Nicholson, Jefferson Circuit Clerk
    Case
Filed      3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                       L. Nicholson,     67 of Circuit
                                                                     Jefferson 93 PageID
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                                          CERTIFICATE OF SERVICE




                                                                                                            8CC9F554-1E3C-4631-9B4A-27A9602991A4 : 000002 of 000002
               I hereby certify that on this 26th day of November, 2018, I served the foregoing by e-mail

        and U.S. Mail to the following:

               Jeffrey A. Sexton
               John W. Byrnes
               325 West Main Street, Suite 150
               Louisville, KY 40202
               COUNSEL FOR PLAINTIFF


                                                            /s/ Logan J. Mayfield
                                                            COUNSEL FOR DEFENDANTS



        LEXINGTON 63445-2 73115v1




                                                                                                            NTD : 000002 of 000002




Filed                 18-CI-001881   11/26/2018            David L. Nicholson, Jefferson Circuit Clerk
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 68 of 93 PageID #: 76




                   EXHIBIT K
    Case
Filed        3:19-cv-00229-DJH-CHL    Document 1-2 Filed
                      18-CI-001881 01/17/2019      David03/27/19    Page
                                                         L. Nicholson,     69 of Circuit
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                                           ELECTRONICALLY FILED




                                                                                                             9079260F-D510-4BC2-8896-A2DAE5211E16 : 000001 of 000003
        CASE NO 18-CI-001881                                        JEFFERSON CIRCUIT COURT
                                                                              DIVISION SIX (6)
                                                                     HON. JUDGE OLU STEVENS

        BARBARA WILSON                                                                 PLAINTIFF

        v.                                 NOTICE-MOTION-ORDER

        PINNICAL FOODS INC., et al                                               DEFENDANTS


               Alice Jones
               101 South Fifth Street, #2500
               Louisville, Kentucky 40202

               Logan Mayfield
               Brian Johnson
               300 W. Vine Street, #1700
               Lexington, KY 40507



                Please take notice that the undersigned will make the following motion and
        tender the attached orders on Tuesday, January 22, 2019, at the hour of 11:15
        p.m., in the above courtroom.

                                               ***** ***** *****


                                        MOTION FOR TRIAL DATE

             Comes the Plaintiff, by Counsel, Jeffrey A. Sexton and moves this court to set a trial

        date in the above styled action


                                                    Respectfully submitted,
                                                                                                             ST : 000001 of 000002




                                                    /s/__Jeffrey A. Sexton________
                                                   Jeffrey A. Sexton, Attorney for Plaintiff
                                                   John Byrnes, Attorney for Plaintiff
                                                   325 West Main Street, Suite 150
                                                   Louisville, Kentucky 40202
                                                   502-893-3784
Filed                  18-CI-001881   01/17/2019           David L. Nicholson, Jefferson Circuit Clerk   1
    Case
Filed       3:19-cv-00229-DJH-CHL    Document 1-2 Filed
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                                                                      Jefferson 93 PageID
                                                                                        Clerk #: 78




                                                                                                            9079260F-D510-4BC2-8896-A2DAE5211E16 : 000002 of 000003
                                           CERTIFICATE OF SERVICE


               It is hereby certified that a copy of the foregoing was mailed and/or electronically
        sent to the above parties on this 17TH day of January, 2019
        .

                                                  /s/ Jeffrey A. Sexton
                                                  Attorney for Plaintiff, Jeffrey A. Sexton




                                                                                                            ST : 000002 of 000002




Filed                 18-CI-001881   01/17/2019           David L. Nicholson, Jefferson Circuit Clerk   2
   Case
Tendered   3:19-cv-00229-DJH-CHL    Document 1-2 Filed
                    18-CI-001881 01/17/2019      David03/27/19    Page
                                                       L. Nicholson,     71 of Circuit
                                                                     Jefferson 93 PageID
                                                                                       Clerk #: 79




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                                                                                                     9079260F-D510-4BC2-8896-A2DAE5211E16 : 000003 of 000003
    CASE NO 18-CI-001881                                        JEFFERSON CIRCUIT COURT
                                                                          DIVISION SIX (6)
                                                                 HON. JUDGE OLU STEVENS

    BARBARA WILSON                                                                PLAINTIFF

    v.

    PINNACLE FOODS INC., et al                                              DEFENDANTS

                                                ORDER

             Motion having been made and the Court being sufficiently advised It is HEREBY

    ORDERED that a trial date shall be set in the above styled action.




                                                ___________________________________
                                                HON. JUDGE OLU STEVENS
                                                JEFFERSON CIRCUIT COURT
                                                CIVIL DIVISION SIX (6)

    Tendered by

    Jeffrey A. Sexton, Attorney
    325 W. Main St., Suite 150
    Louisville, KY 40202
    (502) 893-3784
    CC:
             Logan Mayfield                          Alice Jones
             Brian Johnson                           101 South 5th Street
                                                                                                     TD : 000001 of 000001




             300 W. Vine Street, #1700               Louisville, Ky 40202
             Lexington, KY 40507




Tendered            18-CI-001881   01/17/2019         David L. Nicholson, Jefferson Circuit Clerk
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 72 of 93 PageID #: 80




                   EXHIBIT L
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 73 of 93 PageID #: 81
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 74 of 93 PageID #: 82
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 75 of 93 PageID #: 83
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 76 of 93 PageID #: 84
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 77 of 93 PageID #: 85




                  EXHIBIT M
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 78 of 93 PageID #: 86



                                  ELECTRONICALLY FILED




                                                                                                            0C315E23-E46B-409E-A143-282D85C1337F : 000001 of 000002
  NO. 18-CI-001881                                                      JEFFERSON CIRCUIT COURT
                                                                                  DIVISION SIX (6)
                                                                              JUDGE OLU STEVENS


  BARBARA WILSON                                                                               PLAINTIFF

  vs.                                   NOTICE OF DEPOSITION

  PINNACLE FOODS, et al                                                                   DEFENDANTS


          The Plaintiff, by and through counsel, pursuant to the Kentucky Rules of Civil

  Procedure, will take the deposition of TOM REVELL, on Thursday, January 31, 2019, at

  9:00 am. at the office of Kentuckiana Court Reporters, 73 West Main Street, #101,

  Louisville, Kentucky 40202, before a court reporter duly authorized to administer an

  oath, the deposition.



                                                                                  ______
                                                                   JEFFREY SEXTON
                                                                   Attorney for Plaintiffs
                                                                   325 West Main Street, #150
                                                                   Louisville, Kentucky 40202
                                                                    502-802-3775

                                                  CERTIFICATE


           I hereby certify that a true copy of the foregoing was mailed to Logan Mayfield, 300 West Vine
  Street. #1700, Lexington, Kentucky 40507 and Brian Johnson, 300 west Vine Street, #1700, Lexington,
  Kentucky 40507, on this 24th day of January 2019.

  .


                                                               _____
                                                  JEFFREY SEXTON
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 79 of 93 PageID #: 87



                                  ELECTRONICALLY FILED




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  NO. 18-CI-001881                                                      JEFFERSON CIRCUIT COURT
                                                                                  DIVISION SIX (6)
                                                                              JUDGE OLU STEVENS


  BARBARA WILSON                                                                               PLAINTIFF

  vs.                                  NOTICE OF DEPOSITION

  PINNACLE FOODS, et al                                                                   DEFENDANTS


          The Plaintiff, by and through counsel, pursuant to the Kentucky Rules of Civil

  Procedure, will take the deposition of GREG NOVAK, on Thursday, January 31, 2019,

  at 11:00 am. at the office of Kentuckiana Court Reporters, 73 West Main Street, #101,

  Louisville, Kentucky 40202, before a court reporter duly authorized to administer an

  oath, the deposition.



                                                                                 ______
                                                                  JEFFREY SEXTON
                                                                  Attorney for Plaintiffs
                                                                  325 West Main Street, #150
                                                                  Louisville, Kentucky 40202
                                                                   502-802-3775

                                                  CERTIFICATE


           I hereby certify that a true copy of the foregoing was mailed to Logan Mayfield, 300 West Vine
  Street. #1700, Lexington, Kentucky 40507 and Brian Johnson, 300 West Vine Street, #1700, Lexington,
  Kentucky 40507, on this 24th day of January 2019.

  .


                                                               _____
                                                  JEFFREY SEXTON
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 80 of 93 PageID #: 88




                   EXHIBIT N
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 81 of 93 PageID #: 89




  No. 18-CI-000874                                               JEFFERSON CIRCUIT COURT
                                                                           DIVISION SIX (6)
                                                                       JUDGE OLU STEVENS

   BARBARA WILSON                                                                        PLAINTIFF,

          v.

   PINNACLE FOODS, INC., et al                                                         DEFENDANTS.

    BARBARA WILSON’S FIRST SET OF INTERROGATORIES PROPOUNDED UPON
                            KROGER COMPANY

         Comes now the Plaintiff, Barbara Wilson, pursuant to Rule 33 of the Kentucky Rules of

  Civil Procedure, and serves the following Interrogatories upon Defendant, Kroger Company, to be

  answered in writing, under oath within thirty (30) days after the date of service.

         Instructions for answering:

         1.      All information is to be divulged which is in your possession or control or within

  the possession and control of your attorney or representatives.


         2.      Where the word “accident” is used, it refers to the accident which is the basis of

  this lawsuit unless otherwise specified.


         3.      Where an interrogatory calls for an answer in more than one part, each part should

  be separated in the answer so the answer is clearly understandable.


         4.      You are reminded all answers must be made separately and fully and an incomplete

  or evasive answer is a failure to answer.


         5.      You are under a continuing duty to seasonably supplement your responses with

  respect to any question directly addressed to the identity and location of persons having knowledge

  of discoverable matters, the identity of any person expected to be called as an expert witness at
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 82 of 93 PageID #: 90




  trial, and the subject matter on which he is expected to testify and to correct any response which

  you know or later learn is incorrect.




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                                        INTERROGATORIES


          1.      What is the current full name, address, social security number, and date of birth of

  the person answering these Interrogatories, and, if applicable, any prior names (maiden, married,

  etc.) used by or by which the answerer has been known?


  ANSWER:




          2.      Please describe with such specificity and particularity how the incident described

  in the Complaint occurred.


  ANSWER:




          3.      What witness or witnesses, expert or lay, including name, address, telephone

  number, specialty or field of expertise, and subject matter of expected testimony for each person

  identified, do you expect or intend to call at the time of trial?


  ANSWER:




          4.      What are the dates and verbatim contents of each statement you, your attorney, or

  anyone else acting in your behalf possesses or controls that Defendant(s) made, either oral or

  written, before any person whomsoever, which relates to the incident described in the Complaint?




                                                 3
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 84 of 93 PageID #: 92




  ANSWER:




         5.     What videos or photographs, including number of photographs, date taken, and by

  whom taken, do you, your attorney, or anyone acting on your behalf, have of the plaintiff?


  ANSWER:




         6.     List all recalls that indicate the presence of a foodborne illness(es) in a product that

  was purchased from your stores by the Plaintiff.


  ANSWER:




         7.     With regard to the recalls listed in Interrogatory No. 6 please identify the source of

  the notice whether it is the producer, FDA or USDA or other person or entity.


  ANSWER:




         8.     What is the name, office address and specialty, if any, of each physician or

  practitioner of any healing art who you have retained to evaluate the potential food poisoning

  claims that have been submitted?




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  ANSWER:




         9.      What insurance policies do you have that will cover the injuries sustained by Ms.

  Barbara Wilson?


  ANSWER:




         10.     Identify the customers of Kroger that have claimed to have become ill or sustained

  damages as a result of the Pinnacle Foods recall that has affected Ms. Wilson.


  ANSWER:




         11.     What was done to notify your customers that the Pinnacle Foods products which

  were sold in your stores were not safe to eat and had been recalled?


  ANSWER:




         12.     What steps are taken to make sure a contaminated food product such as that which

  was sold to Ms. Wilson is not consumed by her after you have determined that it is not safe to

  consume?




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  ANSWER:




         13.    What are the dates on which you were notified that the food products sold to Ms.

  Wilson were contaminated and when did you contact Ms. Wilson?


  ANSWER:




         14.    Who conducted the testing on the Pinnacle Foods products that led you to recall the

  products that were sold to Ms. Wilson?


  ANSWER:




         15.    What steps do you take to make sure that contaminated food products from vendors

  are not sold to your customers?


  ANSWER:




         16.    Identify the Kroger policies and procedures that dictate what is to be done once a

  product has been sold to an elderly customer has been determined to be unsafe.


  ANSWER:




                                             6
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                                 REQUESTS FOR ADMISSION

  REQUEST FOR ADMISSION NO. 1: Please admit that sometime between January 12, 2017,

  and February 8, 2017, Kroger sold to Plaintiff for consumption a package of Hungry Man Selects

  Frozen Chicken & Waffles (the “FOOD”) UPC 658276-20290 from Defendant store Kroger—

  2219 Holiday Manor Center, 4943 Brownsboro Road, Louisville, KY 40222.

  ANSWER:

  REQUEST FOR ADMISSION NO. 2: Please admit that Hungry Man Selects Frozen Chicken

  & Waffles UPC 658276-20290 were recalled at a later date by Pinnacle Foods due to the

  possible presence of Listeria monocytogenes.

  answer:


                                REQUESTS FOR PRODUCTION

     1. Please produce any insurance contract applicable to this lawsuit.


     2. Please produce any indemnification agreement Kroger has in place with Pinnacle Foods.


     3. Please produce any recall notice(s) received by Kroger related to the food purchased by

         Barbara Wilson related to this lawsuit.


     4. Please produce any test results Kroger may have related to the Pinnacle Foods recall of

         the food Barbara Wilson purchased.


     5. Please produce copies of any other claims filed against Kroger by others who allege to

         have been made ill by the same food Barbara Wilson purchased from Kroger.


     6. Please produce the freezer temperature logs between January 12, 2017, and February 8,

         2017, for the Kroger—2219 Holiday Manor store for the freezer or temperature-


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         controlled storage space where the Hungry Man Selects Frozen Chicken & Waffles UPC

         658276-20290 was kept.


     7. Please produce any correspondence from Pinnacle Foods to Kroger regarding the recall

         and/or testing of the Hungry Man Selects Frozen Chicken & Waffles UPC 658276-

         20290.


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was served this 14th day of
  March 2019, via electronic and U.S. Mail, upon the following:

         Brian M. Johnson (KBA #86995)
         Logan J. Mayfield (KBA #97287)
         DICKINSON WRIGHT PLLC
         300 West Vine Street, Suite 1700
         Lexington, Kentucky 40507

                                                      Jeffrey A. Sexton




                                              8
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                   EXHIBIT O
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 90 of 93 PageID #: 98




  CIVIL ACTION NO. 18-CI-001881                                 JEFFERSON CIRCUIT COURT
                                                                              DIVISION 6
                                                                    ELECTRONICALLY FILED

  BARBARA WILSON                                                                     PLAINTIFF

  Vs                       THE KROGER CO.’S RESPONSES TO
                         PLAINTIFF’S REQUESTS FOR ADMISSIONS


  PINNACLE FOODS, INC. et al                                                     DEFENDANTS

                                        *** *** *** *** ***

         Defendant, The Kroger Co., by counsel and for its Responses to Plaintiff Barbara Wilson’s

  Requests for Admission, states as follows:


                                 REQUESTS FOR ADMISSION

  REQUEST FOR ADMISSION NO. 1: Please admit that sometime between January 12, 2017,

  and February 8, 2017, Kroger sold to Plaintiff for consumption a package of Hungry Man Selects

  Frozen Chicken & Waffles (the “FOOD”) UPC 658276-20290 from Defendant store Kroger—

  2219 Holiday Manor Center, 4943 Brownsboro Road, Louisville, KY 40222.

  ANSWER:       Admit.

  REQUEST FOR ADMISSION NO. 2: Please admit that Hungry Man Selects Frozen Chicken

  & Waffles UPC 658276-20290 were recalled at a later date by Pinnacle Foods due to the possible

  presence of Listeria monocytogenes.

  ANSWER:       Admit.
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 91 of 93 PageID #: 99




                                                      /s/ Logan J. Mayfield
                                                      Brian M. Johnson (KBA #86995)
                                                      Logan J. Mayfield (KBA #97287)
                                                      DICKINSON WRIGHT PLLC
                                                      300 West Vine Street, Suite 1700
                                                      Lexington, Kentucky 40507
                                                      Telephone: (859) 899-8700
                                                      Facsimile:    (844) 670-6009
                                                      bjohnson@dickinsonwright.com
                                                      lmayfield@dickinsonwright.com
                                                      COUNSEL FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of March, 2019, I served the foregoing by e-mail and

  U.S. Mail to the following:

         Jeffrey A. Sexton
         John W. Byrnes
         325 West Main Street, Suite 150
         Louisville, KY 40202
         COUNSEL FOR PLAINTIFF


                                                      /s/ Logan J. Mayfield
                                                      COUNSEL FOR DEFENDANTS



  LEXINGTON 63445-2 77717v1
Case 3:19-cv-00229-DJH-CHL Document 1-2 Filed 03/27/19 Page 92 of 93 PageID #: 100




                    EXHIBIT P
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